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    8                          UNITED STATES DISTRICT COURT
    9                        SOUTHERN DISTRICT OF CALIFORNIA

   lO II DANIEL LUDLOW, ET AL.,
   11                        Plaintiff,                        RDER GRANTING
                 V.                                            SUBSTITION OF
   12
             FLOWERS FOODS, INC., FLOWERS
   13 II BAKERIES, LLC, and FLOWERS           I Judge: Hon. Jinsook Ohta
             FINANCE, LLC,                    Magistrate: Hon. Jill L. Burkhardt
   14   11


                             Defendants.      Complaint Filed: June 6, 2018
   15                                         TriaIDate: Not Set
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                 [PROPOSED] ORDER GRANTING MOTION FOR SUBSTITUTION OF PARTY
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    1         The Court, having read and considered Plaintiffs Suggestion of Death Upon
    2 I the Record Under Rule 25(a)(l) and Motion for Substitution of Party, and for good

    3 I cause appearing, hereby GRANTS the same.
    4        The Court hereby orders that:
    5            1.    An Order of Substitution be entered substituting Mary Hardison-
    6 I Castaneda, as David Castaneda's surviving spouse and Trustee of his estate, as a class

    7 I member in place of David Castaneda. The assigned Administrator shall substitute

    8 I Mary Hardison-Castenada in place of David Castaneda for the purposes of

    9 I administering the preliminarily approved settlement.

   10        IT IS SO ORDERED
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   13 I Dated:        I L /_JL, 2023
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                                                  2                       3:18-cv-01190-JO-JLB
                 [PROPOSED] ORDER GRANTING MOTION FOR SUBSTITUTION OF PARTY
